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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF PENNSYLVANIA
                             PITTSBURGH DIVISION


WENDELL H. STONE COMPANY, INC.
d/b/a STONE & COMPANY, individually and
on behalf of all others similarly situated,
                                                      Case No. 2:18-cv-01135-AJS
                       Plaintiff,

v.

PC SHIELD INC., an Oklahoma corporation,

                       Defendant.

                               CLERK’S ENTRY OF DEFAULT

       Pursuant to Rule 55(a) of the Federal Rules of Civil Procedure and upon application by

Plaintiff, default is hereby entered against Defendant PC Shield, Inc.



DEFAULT ENTERED this ____ day of ______________ 2018.



                                                     Clerk of Court




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